Case 2:19-md-02921-BRM-LDW         Document 499 Filed 07/26/24               Page 1 of 2 PageID:
                                         8177
      Joseph A. Dickson, U.S.M.J. (Ret.)
      Brittany Manna
      CHIESA SHAHINIAN & GIANTOMASI PC
      105 Eisenhower Parkway
      Roseland, NJ 07068
      (973) 325-1500
      Appointed Special Master


                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY




        IN RE: ALLERGAN BIOCELL                              MDL No. 2921
        TEXTURED BREAST IMPLANT                              Civil Action No.: 2:19-md-2921 (BRM)(ESK)
        PRODUCTS LIABILITY LITIGATION



                                                              ORDER COMPELLING EXPONENT
                                                             INC. TO COMPLY WITH PLAINTIFFS’
        This Order Relates to All Actions:                        SUBPOENA DUCES TECUM
        In re Allergan Biocell Textured Breast Implant
        Product Liability Litigation, MCL No. 634




               THIS MATTER, having come before the Special Master on June 24, 2024 upon

      application of Plaintiffs for an Order compelling non-party witness Exponent, Inc. to comply

      with a subpoena for documents served upon it by Plaintiffs; and the Court having considered the

      moving papers, Allergan’s opposition, and Exponent, Inc.’s opposition, and for good cause

      shown:

               IT IS ON this 26th day of July day of 2024;




                                                         1
                                                                                        4861-8980-0147.v1
Case 2:19-md-02921-BRM-LDW          Document 499         Filed 07/26/24    Page 2 of 2 PageID:
                                         8178



             ORDERED that:

             1.      On or before August 16, 2024, Exponent, Inc. shall produce to Plaintiffs the

      documents that are responsive to the May 6, 2022 subpoena duces tecum served upon Exponent,

      Inc. by Plaintiffs and;

             2.      Before August 16, 2024, Allergan shall be permitted to conduct a privilege review

      of the intended production from Exponent, Inc.;

             3.      To the extent Allergan designates any documents in the intended production as

      “privileged;” on or before August 16, 2024, Allergan shall submit a privilege log sufficiently

      describing the designated documents.


             SO ORDERED.

                                                     /s/ Joseph A. Dickson
                                                     Hon. Joseph A. Dickson, U.S.M.J. (Ret.)
                                                     Special Master


      Date: July 26, 2024




                                                     2
                                                                                       4861-8980-0147.v1
